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 8                                    UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                     Case No. 1:15-cr-00304-DAD-BAM-3
12                       Plaintiff,
13            v.                                   ORDER OF RELEASE
14   LUIS ENRIQUE FLORES,
15                       Defendant.
16

17            The above named defendant having been sentenced on October 5, 2016 to CREDIT FOR

18   TIME SERVED,

19            IT IS HEREBY ORDERED that the defendant shall be released FORTHWITH. A
20   judgment and commitment order will follow.
21   IT IS SO ORDERED.
22
     Dated:        October 5, 2016
23                                                     UNITED STATES DISTRICT JUDGE

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